             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 1 of 49




 1   Rimon Hanna
     302 Washington street, #335
 2
     San Diego, CA 92103
 3   Tel; (619)808-4268
     Email; RimonDylanHanna@Gmail.com
 4
     In Propria Persona
 5

 6

 7

 8
                                UNITED STATES DISTRICT COURT
 9                                DISTRICT OF CONNECTICUT
                                   CIVIL DIVISION - UNLIMITED
10

11

12   RIMON HANNA,                                Case No.   J:l &cvi54~(C51V
13                        Plaintiff,             Plaintiff Complaint For:
14                                                  1-   Wrongful Termination;
           vs.
15                                                  2-   Retaliation;
     American Cruise Lines, Inc.                    3-   Breach of Contract;
16                                                  4-   Intentional Misrepresentation;
     and                                            5-   Negligent Misrepresentation;
17
     DOES 1 THROUGH 10 Inclusive,                   6-   Conversion and Unjust
18                                                       Enrichment.

19                        Defendant.
20

21

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22                                                                                      c:c

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     Plaintiff's Complaint             Hanna vs. American Cruise Lines                           1 I 10
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 2 of 49




 1          Plaintiff Rimon Hanna (hereinafter referred to as "Plaintiff) alleges against
 2   Defendants, American Cruise Lines, Inc. (Connecticut Corporation) and DOES 1
 3   THROUGH 10 Inclusive (collectively referred to as "Defendant" as follows;

 4                              PRELIMINARY ALLEGATIONS
              1- Plaintiff is informed and believed and thereon alleges that the Defendants
 5
     were, and at all times mentioned herein is resident of the state of Connecticut.
 6
              2- Plaintiffs are informed and believe, and thereon allege, that Defendant,
 7
     America Cruise Lines, Inc., is a Connecticut Corporation, conducting business in the
 8
     State of California,
 9
              3- From the inception of Plaintiffs employment by Defendants and up to the
10
     date of his termination, there existed a direct employer-employee relationship between
11   Plaintiff and Defendants, and each of them. All facts stated in the Factual Background o
12   this Complaint are incorporated herein by reference as are the facts concerning the
13   Parties contractual relationship stated hereinafter.
14             4- Plaintiff is ignorant of the true names and capacity of the Defendants sues

15   as Does 1 through 10, Inclusive, and therefore sues these Defendants by these fictitiou
     names. Plaintiff will seek of the court to leave to amend this complaint to allege the true
16
     names of DOE 1 through 10, inclusive, when the true names and capacities have been
17
     ascertained.
18
               5- Plaintiff is informed and believes and thereon alleges that each of the
19
     fictitiously named Defendants are in breach of some contract or is tortuously or
20
     otherwise legally responsible in some manner for the occurrences in this Complaint and
21
     for Plaintiffs damages.
22            6- Plaintiff is informed and believes and thereon alleges that, at all the times
23   relevant each of the Defendants, including DOES 1 through 10, inclusive, was the agent
24   or employee of each of the remaining Defendants and, in doing the things alleged, was

25   acting within the scope of that agency or employee relationship and within the

26
     permission, consent and ratification of the other Defendants.

27
                                     FACTUAL BACKGROUND
28

     Plaintiff'     c3   Complaint   Hanna vs. American Cruise Lines                    2 I 11
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 3 of 49




 1

 2           7- On or about February 2017, Plaintiff was contacted by HR of American
 3   Cruise Line asked Plaintiff for food tasting interview with the corporation Executive chef

 4   Mr. Thomas Leonard on one of the its ships in Portland, Oregon.

 5
     Plaintiff successfully completed his task and was told that he will be contacted by the
     HR for job offer as Executive Chef for American Cruise Lines on one of its ships.
 6
            8- Plaintiff was promised by Mr. Leonard daily flat rate of $225 per day. Paid
 7
     travel expenses. Having my own room, access to board facilities, GYM, internet. Full
 8
     kitchen crew will be hired to assist the executive chef fulfilling his duties.
 9
     As executive chef, Plaintiff will be working about 8-9 hours a day, "1 0 is the maximum if
10
     you fall behind" Corporate chef Thomas Leonard, the Plaintiff's Boss had told Plaintiff.
11   Plaintiff will have plenty of opportunity to travel and get off the ship and have lots of fun
12   and all of his travel and living expenses will be covered.
13           9- Few days later, the plaintiff was contacted by the HR, confirming Mr. Leonard
14   offer, arranging for Plaintiff to go for drug screening and few weeks later, Plaintiff started

15   his employment for American Cruise Lines on or about March 15, 2017.
             10- After the start of Plaintiff's employment, the Plaintiff noticed
16
     (a) constant shortage of staff, Plaintiff was promises 5 chefs, Plaintiff was given only 3
17
     chefs, two chefs at some times and only one chef between July 14-July 17.
18
     (b) Some of the crew were exempt employee and other were hourly paid although all
19
     were working on the same ship, same working hours and same working condition. All of
20
     the kitchen chefs including the Plaintiff were exempt and none of them had met the
21   exempt categories. Plaintiff never hired, fired or trained staff, Plaintiff made no decision
22   of menu or receipt creation. All of the menu, receipt, hiring and firing scheduling, training
23   was done by Mr. Leonard and the HR. Plaintiff had no authority to take any Disciplinary
24   action toward any of the staff for not completing their work timely or meeting their

25   responsibilities according the company guideline.

26
     (c) All of the Kitchen chefs were hired at flat rate of $135 per day and promised the
     same working condition as the Plaintiff and they ended up working apx15 hours per day
27
     instead of 8-9 hours per day.
28

     Plaintiff'    ~o   Complaint     Hanna vs. American Cruise Lines                   3 I 11
               Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 4 of 49




 1   (d) On few occasions when the ship reached it final destination in Jeuna-Aiaska, staff
 2   will leave their uniform on the floor and leave to the airport and catch a flight to return
 3   home, saying the working condition does not match what was promised. And the

 4   compensation for the working hours is far below the minimum wage required by the law.

 5
                                        FIRST CAUSE OF ACTION
 6
                                         Wrongful Termination
 7
               11- Plaintiff re-alleges, and by this reference, incorporates herein, each and
 8
     every allegation contained in paragraphs 1 through 10 above as though fully set forth
 9
     herein.
10
                12- On July 14, 2017, Plaintiff had two of his chefs were scheduled for vacation
11
     by the HR and Chef Thomas, and one other chef (Craig) walked out, Craig left his
12
     uniform on the floor in the middle of the night, he caught a flight to return home. Craig
13   only worked for two weeks and decided to leave.
14   On his last few days, chef Craig told the Plaintiff "this is not what I signed up for, I
15   was promised to travel and work only 8-9 hours per day and I am getting paid

16   $135 for 15-16 working hours per day, is not even the minimum wage, if I work in

17   McDonalds, I will make double of what I am making here, this is not fun, its
     slavery".
18
                 13- On July 14, Plaintiff lost 3 chefs and had only one chef replacement and
19
     other chef, they forgot to book his flight. Plaintiff was left with only one chef instead of 4
20
     chefs. Plaintiff worked around the clock, Plaintiff received a phone call from his boss Mr.
21
     Leonard saying "I don't know what to do man, we give people jobs and they don't
22
     stay and leave like little kids. You doing a great job, please be patient. I am
23   sending you more chefs as soon as I can and Chelsea is flying now to you to help
24   you". Ms. Chelsea Hargis is the company director for the west coast.
25               14- Plaintiff told both Mr. Leonard and Ms. Hargis "I was promised to work
26   max of 9 hours a day, I am putting 16 hours every day. It's the same reason Craig

27   left. I was promised 5 chefs, now I only have 2. We are not getting any over time

28

     Plaintiff'     ,~3   Comp1aint   Hanna vs    0   American Cruise Lines             4 I 11
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 5 of 49




 1   while other member of the staff getting paid the over time. The accommodation
 2   condition is not what was promised"

 3               15- On July 22, 2017 Plaintiff received a message from the Hotel Manager,

 4   Chef Tom wants you to go on vacation from tomorrow.
                  16- On Monday July 24, Plaintiff texted Chef Tom asking when would he
 5
     returned to work, he was told "we are going separate ways".
 6
                  17- Plaintiff believes that his termination was wrongful unlawful, only after
 7
     the Plaintiff claimed to be compensated for his over time, and his working condition,
 8
     only then, he was terminated.
 9
     One week earlier, Chef Tom expressed his appreciation for the Plaintiff' dedication, hos
10
     work and sought Plaintiff's patience until locates and sends some more chefs.
11                 18- As a direct and   for~seeable   result of said wrongful termination, Plaintiff
12   has suffered damages in an amount to be proven.·Said damages include lost wages,
13   and certain other incidental and consequential expenses and losses including but not
14   limited to all damages pursuant to Civil Code § 3300. Said damages were a

15   foreseeable result of Defendants' wrongful conduct and wrongful termination of
     Plaintiff's employment.
16

17
                                 SECOND CAUSE OF ACTION
18
                                             Retaliation
19
                     19- Plaintiff re-alleges and incorporates by this reference, as though fully
20
     set forth herein, paragraphs I through 18 of this Complaint.
21
                     20- Plaintiff believes that he was retaliated against and fired as a result
22
     Of his official complaint and claim for his over time, and his working condition, only then,
23   Plaintiff was fired. Plaintiff believes if such a claim "Yas not made, Plaintiff would still be
24   working for and with ACL until this day.
25                  21- As a direct and foreseeable result of said retaliation, Plaintiff has
26   suffered damages in an amount to be proven. Said damages include lost wages, and

27   certain other incidental and consequential expenses and losses including but not limited

28

     Plaintiff's Complaint             Hanna vs. American Cruise Lines                    5 I 11
               Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 6 of 49




 1   to all damages pursuant to Civil Code § 3300. Said damages were a foreseeable result
 2   of Defendants' wrongful conduct and retaliation against the Plaintiff.

 3                  22- LABOR CODE SECTION 232(a) and (b), EEOC, forbids employers

 4   from retaliating against their employee for discussing or disclosing his or her wages.

 5
     Plaintiff Hanna suffered discriminatory wage by asking, discussing his salary with his
     bosses Thomas Leonard and Chelsea Hargis, and as soon as the Plaintiff requested to
 6
     be paid for his over time, Plaintiff was fired on the same week as soon as his ship
 7
     docked in Jeanue, Alaska.
 8
                 23- Plaintiff Hanna became participating in Statutorily Protected Activity
 9
     according to the law. Defendant ACL retaliated against Plaintiff Hanna and his
10
     employment was terminated because of his overtime claim.
11               24- Adverse Employment Actions. Once an employee has engaged in
12   statutorily protected participation and the employer has taken "adverse employment
13   action" against the employee. The Law prohibited employer conduct includes many

14   traditional employment decisions, including wrongful termination and retaliation.

15               25- Plaintiff's termination was wrongful and in violation of the fundamental
     principles of the public policy of the State of California as reflected in its laws, objective
16
     and policies. Said laws include, but are not limited to, Article I, Section I, of the
17
     California Constitution, as well as Government Code§ 12900, et seq, the ADA, the
18
     Labor Code, Business & Professions Code Section 17200 and other statutes.
19
                   26- As a result of said employment relationship, Defendants were obligated
20
     to refrain from discharging and/or refusing employment to Plaintiff, or any employee, for
21   reasons which violate or circumvent said policy, law or the objectives which underlie
22   each ..
23                 27- As a direct and foreseeable result of the aforesaid acts of Defendants,
24   their agents and employees, Plaintiff has lost income and benefits in an amount to be

25   proven at the time of trial. Plaintiff also may incur attorney fees. Plaintiff claims such

26
     amounts as damages together with pre-judgment interest pursuant to Civil Code § 3287
     and/or any other provision of law providing for pre-judgment interest.
27

28

     Plaintiff's Complaint             Hanna vs. American Cruise Lines                   6 I 11
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 7 of 49




 1                   28- As a direct and foreseeable result of the aforesaid acts of Defendants,
 2    their agents and employees, Plaintiff has become mentally upset, distressed and
 3    aggravated. Plaintiff claims general damages for such mental and emotional distress

 4    and aggravation in a sum to be proven at trial.

 5
                     29- Plaintiff's set forth facts said the pleadings, constitute retaliation of
      unlawful termination and retaliation of his over-time claim against Defendant ACL.
 6

 7
                                       THIRD CAUSE OF ACTION
 8
                                           Breach of Contract
 9
                     30- Plaintiff re-alleges and incorporates by this reference, as though fully
10
      set forth herein, paragraphs I through 29 of this Complaint.
11                   31- Although Plaintiff and Defendant employment relationship was at well
12    employment, the compensation portion of it was contractual as well as the working
13    condition. Plaintiff was promised to work no more than 9 hours a day, Plaintiff was
14    promised 4 chefs to assist him, Plaintiff was promised his own room not bunk bed

15    without steps and few inches from the ceiling, and sharing room with 3 (three) others.
      Plaintiff was promised paid travel expenses. Plaintiff was promised internet. Plaintiff was
16
      promised the use of the GYM.
17
      Said the promise, the compensation portion of Plaintiff's employment was contractual.
18
                     32- As a direct and proximate cause of Defendants' breach of his
19
      Agreement with Plaintiff, as alleged above, Plaintiff has suffered damages in an amount
20
      to be proven at the time of trial. Plaintiff alleges unpaid wage as the time of filing his
21    complaint.
22
                                   FOURTH CAUSE OF ACTION
23
                                    Intentional Misrepresentation
24.

25                 33- Plaintiff re-alleges and incorporates by this reference, as though fully set
26    forth herein, paragraphs I through 32 of this Complaint.
27                 34-. When Mr. Leonard promised Plaintiff to work no more than 9 hours a
28    day, promised Plaintiff 4 (four) chefs to assist him, promised Plaintiff his own room not

      Plaintiff' :s Complaint            Hanna vs. American Cruise Lines                    7 I 11
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 8 of 49




 1   bunk bed and sharing room with 4 (four) others, promised Plaintiff paid travel expenses.
 2   Plaintiff was promised the use of internet. promised Plaintiff the use of the GYM.
 3   Said the promise, he knew all of these promises to be false when he made them and

 4   intentionally defrauded Plaintiff when he made such a promise to induce Plaintiff to
     work for him.
 5

 6
                35- At all times relevant herein, Defendants, and Does 1 through 10 inclusive,
 7
     enjoyed a superior bargaining position and power over Plaintiff to the extent described
 8   herein. Thus, material terms concerning his employment were concealed and not
 9   disclosed and thereby misrepresented by Defendants and Does 1 through 10, inclusive,
10   to said Plaintiff, as to obtain his reliance thereon. As a result of the concealment, failure

11   to disclose and false misrepresentation of material terms concerning Plaintiffs

12
     employment and termination, such material terms were misleading, not disclosed and
     concealed and thereby misrepresented by Defendants, and Does 1 through 10,
13
     inclusive, to Plaintiff.
14
                 36- Defendants and Does 1 through 10, inclusive, knew at the time that they
15
     failed to disclose, concealed and engaged in such representations, actions, conduct and
16
     inactions described herein that the same were false, misleading and untrue for the sole
17
     purpose of obtaining the benefits of Plaintiffs work and thereafter to limit said
18   Defendants' financial obligations to Plaintiff, and other financial or economic gains, in
19   breach of Defendants contract with and duties to Plaintiff.
20              37- Plaintiff relied of Defendant presentation, Plaintiff moved out of his
21   apartment, sold and donated his furniture and moved to work for the Defendant with the

22   expectation of working condition and to be compensated according to state and federal

23
     laws and as was promised to him. Therefore, Plaintiff did not seek other employment,
     believing he would be treated fairly by Defendants.
24
                38- As a proximate consequence of Defendants' wrongful acts of intentional
25
     misrepresentation_against Plaintiff, Plaintiff has suffered lost wages, emotional distress
26
     and other damages.
27
     /Ill
28

     Plaintift's ComplDint            Hanna vs. American Cruise Lines                    8 I 11
               Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 9 of 49




 1                                FIFTH CAUSE OF ACTION
 2                              Negligent Misrepresentation
 3              39- Plaintiff repeats and re-a lieges all the preceding paragraphs 1 THROUGH
 4   38 herein and incorporates said paragraphs as though set forth in full in this Cause of

 5   Action.

 6               40- At all times relevant herein, Defendants, and Does 1 through 10,

 7
     inclusive, enjoyed a superior bargaining position and power over Plaintiff to the extent
     described herein. Thus, material terms concerning his employment were concealed and
 8
     not disclosed and thereby misrepresented by Defendants and Does 1 through 10,
 9
     inclusive, to Plaintiff, as to obtain his reliance thereon. As a result of the concealment,
10
     failure to disclose and false misrepresentation of material terms concerning Plaintiffs
11
     employment and termination, such material terms were misleading, not disclosed and
12
     concealed and thereby misrepresented by Defendants, and Does 1 through 10
13   inclusive, to Plaintiff.
14              41- At all times relevant herein, Defendants knew their representations were
15   false. Defendants did intentionally make such false promises because Defendant

16   needed the Plaintiff to work to their benefit.

17
                42- Defendants and Does 1 through 10, inclusive, knew at the time that they
     failed to disclose, concealed and engaged in such representations, actions, conduct and
18
     inactions described herein that the same were false, misleading and untrue for the sole
19
     purpose of obtaining the benefits of Plaintiffs work and thereafter to limit said
20
     Defendants' financial obligations to Plaintiff, and other financial or economic gains, in
21
     breach of Defendants contract with and duties to Plaintiff.
22
                 43- As a proximate consequence of Defendants' negligent misrepresentation
23   against Plaintiff, he has suffered lost wages, emotional distress and other damages.
24                                     SIXTH CAUSE OF ACTION
25                                         Unpaid Wages
26              44- Plaintiff re-alleges, and by this reference, incorporates herein, each and

27   every allegation contained in paragraphs 1 through 43 above as though fully set forth

28
     herein.

     PL:tintiff'     ~:;   Complaint   Hanna vs. American Cru.ise L.ines                 9 I 11
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 10 of 49




 1

 2             45- As executive chef, Plaintiff will be working about 8-9 hours a day, "1 0 is
 3   the maximum if you fall behind" Corporate chef Thomas Leonard, the Plaintiff's Boss

 4   had told Plaintiff. Therefore, Plaintiff was hired as an exempt employee and Plaintiff

 5
     accepted his employment agreed to his daily rate of $225 per day which is below the
     ongoing rate for even 8 hours per day. Plaintiff ended up working double of what was
 6
     agreed, and due to the staff shortage, Plaintiff ended up working 15 and 16 hours per
 7
     day.
 8
               46- Plaintiff had no authority to hire or fire or take any disciplinary action
 9
     toward any staff.
10
                     Plaintiff had no say to add or change any of the menus and recipes, it's all
11   has been set by the corporation and the Corporate Executive Chef Thomas Leonard.
12   Even· before every meal, Plaintiff had to take picture of every dish and text it to his boss
13   to make sure Plaintiff is following all the company rules and procedure and to assure
14   that all of the food has been produced according to the company recipes, presentation

15   and standard.
                      All of the food ordering, suppliers and quantities and presentations were
16
     set by the corporation. Plaintiff had no involvement of choosing, negotiation, bargaining
17
     with any of his suppliers.
18
                      Plaintiff had ZERO authority of as a manager or person in charge,
19
     Plaintiff did not exercise any of the categories fallen under exempt employee.
20
                    47- Defendants uses the exempt category to deceive their employees and
21
     having them double what was agreed without paying for overtime according to state and
22   federal law.
23                  48- Attached is work a workout sheet for overtime owed to Plaintiff.
24                          See Page 10 (A)

25                          See Page ,1 0 (B)

26

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     Plaintiff' .:o Cornpla.int        Hanna vs. American Cruise Lines                  10 I 11
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 11 of 49




                        Page 10 (A}
                       Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 12 of 49




          RATE   SUN       MON     TUES     WED   THURS       FRI   SAT    TOTAL
Reg Hrs   $28     8          8        8       8       8                       40 $1,120.00
OT 1.5    $42     4          4        4       4       4        12     12      44 $1,848.00
                                                          '
OTDbl     $56     3           3       3       3       3         3      3      21 $1,176.00
                                                                                   $4,144.00
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 13 of 49




                        Page 10 (B)
                                                         Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 14 of 49




                     OVERTIME, REST PERIOD, MEAL PERIOD COMPUTATION FORM f FORMULARIO PARA CALCULAR SOBRETIEMPO, OESCANSOS Y COMIOAS
                                                USE SEPARATE SHEET FOR EACH PAY RATE I UNA HOJA PARA CADA TASA DE PAFO
Employer Name:                                                             Employee Name:                                                                     Case No.:
                                                                           Overtime Computation I Computacion de Sobretiempo

  PAY PERIOD DATES                          #of Reg.                                                                                                                             #of Days•      #of Meal
                                                          Overtime          # ofO.T.        Double     #of Double
                              Hourly rate                                                                                     $EARNED            $PAlO             $OWED        Rest Periods     Periods
  PERlODO DE PAGO                            Hours·         Rate             Hours         Time rate   Time Hours
                                                                                                                                                                                  Missed         Missed

                                                          Tasa de          #de horas       Tasa de                                                                               #de Dias•
  FROM (DE FECHA)-             Tasa de      #de Horas                                                  #deHoras                                   TOTAL       SALARIOOUE                        #de Dias
    TO (A FECHA)                                           Sobre             sobre         Tiempo                           TOTAl GANADO                                            Sin
                                Pago         regular                                                         Doble                               PAGADO        SE LE DEBE                      Sin Comidas
                                                          Tiempo            Tiempo ·        Doble                                                                                DescansQ

 1 03!26/17 - 04108/17               $28        40.00            $42             44.00           $56              . 21.00          $4,144           $1,575            $2,569                               7

 2 04!09117 - 04/2211 7.             $28        80.00            $42             88.00           $56               42.00           $8,288           $3,150            $5,138              1             14

 3 04123117- 05/06.!17               $28        80.00            $42             88.00           $56 ..            42.00           $8,288           $3,150            $5,138              1             14

 4 05/07/17- 05120!17                $28        80.00            $42            ..88.00          $56               42:oo           $8,288           $3,150            $5,138                            14

 5 05/21/17 - 06!03/17               $28        40.00            $42             32:00           $56               18.00           $3,508           $1,350            $2,158                               6
                                                                                       .
 6 06/04/17 - 06117117               $28        80.00            $42             64.00           $56               36.00           $7,016           $2,812            $4,316                            12     1




  7 06/18117   ~   07/01117          $28        'ao.oo           $42             sa:oo           $56
                                                                                                        "
                                                                                                                   42.00           $8,288           $3,150            $5,138                            14i

  8 07/02/17 - 07/15/17              $28         80.00           $42             as.oo           $56        ...    42.00           $8,288           $3,150            $5,138              1             14

  9 07/16/17-07129/17                $28         40.00           $42             32.00           $56               18.00           $4,144           $1.350            $2,158                               6

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                                                                   ~
                              l!~t~~                                                       lt~"ti~
 TOTAL EACH COLUMN I
                                                   600 I·Tii,".i                     612                             303 $       60,252.00   $    22,637.00    $    36,891.00            10            101
 SUMA CADA COLUMNA                                     IiiC;"/~(10{~1;1~
HOW OFTEN PAID I CUANTAS VECES PAGADO:                                     Total the Hours and Wages Claimed Above I Suma Horas y Sueldo Arriba                                  Indicate the total miss~
  Weekly I Semana        Every 2 weeks I Cada Dos Semanas                  • No Matter how many breaks you missed, it is counted as one day.                                     days. I Ponga al numero
  2 Times a Month I Dos veces eor mes                                      * No esta materia cuantos descansos pierden, solo cuenta uno diario.                                             total.
               Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 15 of 49




 1                                 SEVENTH CAUSE OF ACTION
 2                              Conversion and Unjust Enrichment
 3                 49- Plaintiff re-alleges, and by this reference, incorporates herein, each and

 4   every allegation contained in paragraphs 1 through 48 above as though fully set forth

 5
     herein.
                   50- As a result of the conduct described above, Defendants has been and
 6
     will be unjustly enrich at the expense of the Plaintiff. Specifically, Defendants' unfair and
 7
     unlawful actions as described above have caused Defendant to be unjustly enriched of
 8
     approximately the difference between paying the defendant his daily rate for 9 hours per
 9
     day (including breaks) and working 16 hours per day and avoiding to pay Plaintiff fairly
10
     according to the law. Not paying Plaintiff his final pay check at the time of termination.
11   Not providing Plaintiff with the promised accommodation. Internet or gym. The
12   defendant was unjustly enriched.
13                  60- Defendants should be required to disgorge this unjust enrichment.
14

15                            DAMAGES AND RELIEF REQUESTED
     Wherefore, Plaintiff prays for judgment against Defendant according to proof as follows:
16
     1. For general damages;
17
     2. For special damages;
18
     3. Interest on compensatory damages at the legal rate from the date of injury or
19
       pursuant to Code of Civil Procedure Section 3291;
20
     5. Punitive and exemplary damages;
21   6. Attorney's fees when it's applicable;
22   7. Costs and expenses of suit incurred herein; and
23   8. For other just and proper relief.
24
     Date; May 8, 2018
25

26                                               Submitted by, Rimon Hanna, Plaintiff
27
                                                           In Propria Persona
28

     Plaintiff's Complaint             Hanna vs. American Cruise Lines                 11 I 11
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 16 of 49




                        EXHIBIT -A
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 17 of 49




( Welcome page (https://careers-acl.icims.com/jobs/intro?in_iframe:::1)


 Returning Candidate?
 Log back in! (https://careers-acl.icims.com/jobs/1194/hotel-service-member--server/login?
lttQite~~c(te<M~ll\ID.ettr.arSetr~hed:::-435707838)
Q US-AZ-Phoenix


 Job ID 2017-1194    #of Openings 100      Category Shipboard- Hotel Temp




Overview

Fall Openings!
           Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 18 of 49




American Cruise Lines is looking for enthusiastic servers to work remotely aboard its fleet of ships
in the United States. We operate the newest cruise ships on rivers around the country and are
always hiring happy, energetic people to join us. Most service member candidates are looking to
begin a career in hospitality or are simply taking a semester off from college to save money!

This is a unique semester-long (16 weeks) position to gain experience in the hospitality industry
aboard a cruise ship.

The Perks
  • Save Money - Pay ranges from $700 to $900 per week.
  • Few Expenses - While on the cruise ship, your accommodations and meals are all
     provided for you. It's a dormitory-style environment most people are comfortable with from
     college.
  • Travel- We visit 28 states on our different cruises. While working with us, you will visit a
     number of unique towns and cities you may never have thought you would see.
     Hospitality Experience - This is an excellent beginning to a career in the hospitality
     industry and a way to build your resume with experience in food service, housekeeping, and
     interpersonal skills.
  • Upward Mobility- Successful stewards may apply for full time roles in either shipboard
     management or corporate positions. We have room to grow for qualified and successful
     candidates.



Responsibilities
Servers:

   • Set up and breakdown of dining room
   • Serving breakfast, lunch, dinner, and cocktail hour
   • Customer service
   e Cleanliness of dining room

   • Writing meal tickets
   • Exceptional customer service
   • Hotel duties as neE)ded (assisting with housekeeping or general hotel duties)

The Expectation:
   • Hard work - everyone in our organization works hard to keep guests happy. For Hotel
     Service Members (Stewards), that means waiting tables and responding to all requests with
     courtesy.
   • Long hours- While on the ship, you live where you work. That means you have
     responsibilities every day, even early in the morning and late at night.
   • Commitment to Excellence - Everything we do is for the safety, comfort and enjoyment of
     our guests. Every request should be handled with precision and care.
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 19 of 49
Qualifications
If this unique travel experience is of interest, just make sure you will comply with each of these
criteria and we would love to hear from you:
     • You are at least 18 years old and have graduated from high school.
     • You are an American citizen or legally permitted to work in the United States.
     • The 12-7-16 Rule. You have to be willing to work at least 12 hours a day, 7 days a week, for
        16 consecutive weeks.
     • The US Coast Guard requires a pre-employment drug test that includes tests for marijuana.
       We are also an alcohol free company.
     • You can meet moderate physical demands, including lifting, bending, climbing, and long
        periods of standing or walking.
     • Calm under pressure and positive attitude.

All successful candidates Must be well groomed with neat appearance and not have any
major arm, hand or neck tattoos.




 Cruise To Work- Exciting Careers with American Cruise Lines (https://vimeo.com/153962962) from American
            Cruise Lines (https://vimeo.comjamericancruiselines) on Vimeo (https://vimeo.com).




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     STATES           CAREERS@AMERICANCRUISELINES.COM (MAILTO:CAREERS®AMERICANCRUISELINES.COM)



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Log back in! (https://careers-acl.icims.com/jobs/1191/hotel-service-member--housekeeper/login?
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Q US-AZ-Phoenix


 Job ID 2017-1191    #of Openings 100    Category Shipboard- Hotel Temp




Overview


                                          Fall Openings!
              Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 22 of 49




American Cruise Lines is looking for enthusiastic housekeepers to work remotely aboard its fleet
of ships in the United States. We operate the newest cruise ships on rivers around the country
and are always hiring happy, energetic people to join us. Most service member candidates are
looking to begin a career in hospitality or are simply taking a semester off from college to save
money!

This is a unique semester-long (16 weeks) position to gain experience in the hospitality industry
aboard a cruise ship.

The Perks
  • Save Money- Pay ranges from $700 to $900 per week.
  • Few Expenses - While on the cruise ship, your accommodations and meals are all
     provided for you. It's a dormitory-style environment most people are comfortable with from
     college.
  • Travel - We visit 28 states on our different cruises. While working with us, you will visit a
     number of unique towns and cities you may never have thought you would see.
     Hospitality Experience - This is an excellent beginning to a career in the hospitality
     industry and a way to build your resume with experience in food service, housekeeping, and
     interpersonal skills.
  • Upward Mobility - Successful stewards may apply for full time roles in either shipboard
     management or corporate positions. We have room to grow for qualified and successful
     candidates.



Responsibilities
Housekeepers:
  • General housekeeping duties (making beds, cleaning bathrooms)Laundry
  • Cleanliness of passenger cabins and public areas
  • Other ship hotel tasks and restaurant tasks
  • Shipboard Laundry
  • Exceptional Customer Service
The Expectations:
  • Hard work - everyone in our organization works hard to keep guests happy. For Hotel
     Service Members (Stewards), that means servicing staterooms and responding to all
     requests with courtesy.
  • Long hours - While on the ship, you live where you work. That means you have
     responsibilities every day, even early in the morning and late at night.
  • Commitment to Excellence - Everything we do is for the safety, comfort and enjoyment of
     our guests. Every request should be handled with precision and care



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                Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 23 of 49
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If this unique travel experience is of interest, just make sure you will comply with each of these
criteria and we would love to hear from you:
     • You are at least 18 years old and have graduated from high school.
     • You are an American citizen or legally permitted to work in the United States.
     • The 12-7-16 Rule. You have to be willing to work at least 12 hours a day, 7 days a week, for
        16 consecutive weeks.
     • The US Coast Guard requires a pre-employment drug test that includes tests for marijuana.
        We are also an alcohol free company.
     • You can meet moderate physical demands, including lifting, bending, climbing, and long
        periods of standing or walking.
     • Calm under pressure - and positive attitude.

All successful candidates Must be well groomed with neat appearance and not have any
major arm, hand or neck tattoos.




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                Cruise Lines (https://vimeo.com/americancruiselines) on Vimeo (https://vimeo.com).




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       Gmail                                            Rimon Hanna <rimondylanhanna@gmail.com>



Pre Meal
2 messages

                                   .      . .                                      Wed May 31 2017 at
Thomas Leonard <thomas.leonard@amencancrUJsehnes.com>                                   '        ' : AM
                                                                                                  7 36
To: Hendrix Muhammad <hendrixm75@gmail.com>, "mattcald@gmail.com" <mattcald@gmail.com>, Rimon
Hanna <rimondylanhanna@gmail.com>, eric lahousse <e.lahousse@gmail.com>,
"1 davidmyoung@gmail.com" <1 davidmyoung@gmail.com>, "philemon. work@outlook.com"
<philemon.work@outlook.com>, "gbdubky@twc.com" <gbdubky@twc.com>, "chefpleasant@yahoo.com"
<chefpleasant@yahoo.com>, "joselitojimenez85@yahoo. com" <joselitojimenez85@yahoo. com>,
"framirezjr24@gmail.com" <framirezjr24@gmail.com>
Cc: Bryan Grund <bryan.grund@americancruiselines.com>, Justin Scott
<justin.scott@americancruiselines.com>, Wilfreda Morales <wilfredo.morales@americancruiselines.com>,
"jhaag27 @yahoo.com" <jhaag27 @yahoo.com>


 Chefs:



 Please be sure that the Pre Meal times are being adhered to.
 Breakfast 7:15

 Lunch 12:10

 Dinner 6:10



 Thanks,


 Thomas F. Leonard III C.E.C.

 Corporate Executive Chef



 American Cruise Lines, Inc.

 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile: 203-535-8006

 Office: 203-453-6800 ext. 390

 Fax: 203-453-0417
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 26 of 49




                        EXHIBIT- B
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 27 of 49




           '"
       Gma'il                                             Rimon Hanna <rimondylanhanna@gmail.com>



Thank you
2 messages

Thomas Leonard <thomas.leonard@americancruiselines.com>                        Thu, Mar 2, 2017 .at 7:32AM
To: "RimonDylanHanna@Gmail.com" <RimonDylanHanna@gmail.com>


 Good morning Chef:



 Thank you joining us onboard the American Pride for an Interview and Market Basket.

 You did an awesome job and should be proud. Someone from recruiting will contact you
 in the very near future.


 Safe Travels

 Be well


 Thomas F. Leonard III C.E.C.
 Corporate Executive Chef

 American Cruise Lines, Inc.

 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile:   203-535~8006

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           ·mad                                            Rimon Hanna <rimondylanhanna@gmail.com>



Offer Request
2 messages

                                                                                   Man, Mar 6, 2017 at 9:09
Stephanie Larson <acl+email+1 omx-6d42f2ea30@agents.icims.com>
                                                                                                        AM
To: RimonDylanHanna@gmail.com

 Dear: RlMON

 I am very pleased to offer you the position of Shipboard Executive Chef with American Cruise
 Lines. Your starting salary will be $225 per day with additional bonus incentives. Your
 anticipated start date will be March 25th 2017.

 This is a full time position which, subject to company policy, makes you eligible for such benefits
 as our health, vision, and dental plans, as well as the matching 401 k program.

 If you have specific questions about the position, please don't hesitate to call me at 1-203-453-
 6800. We think you have a lot to contribute and look forward to working with you.

 Sincerely,

 Stephanie Larson
 American Cruise Lines
 www.aclcareers.com
 Find me on Skype: stephanie.larsonacl

Rimon Hanna <rimondylanhanna@gmail.com>                                       Man, Mar6, 2017 at 12:33 PM
To: Stephanie Larson <acl+email+1omx-6d42f2ea30@agents.icims.com>

 Ms. Larson
 I am gladly accept your offer and so excited and looking forward to joining your team.
 Please check with me before making any reservation and I am not sure where will I be as of March 25. I
 could be in Salt Lake City, Utah or San Diego.
 Kind Regards
 Rimon Hanna
 [Quoted text hidden]
             Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 29 of 49




                                                    Rimon Hanna <rimondylanhanna@gmail.com>



Welcome Aboard
2 messages

Thomas Leonard <thomas.leonard@americancruiselines.com>              Sat, Mar 11, 2017 at 8:02 AM
To: "RimonDylanHanna@Gmail.com" <RimonDylanHanna@gmail.com>


 Chef:



 Welcome to American Cruise Lines.

 It was my pleasure meeting you and enjoying the meals you prepared.

 I am excited about this opportunity for you and cannot wait for you to begin your new
 career.

 I have attached a few items for you to review.

 When traveling please be sure to keep all of your receipts, we will review when you
 board.

 You will need the following items:

 Non-skid Shoes

 Amenities, although we do have soap, shampoo, lotion and conditioner

 Knives if you choose - Pack them in your suitcase, I usually write a note stating that "I
 am a chef, these are my tools".

 If you should have any questions, please don't hesitate to reach out to me.

 Be well



 Thomas F. Leonard III C.E.C.
 Corporate Executive Chef

 American Cruise Lines, Inc.

 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile: 203-535-8006

 Office: 203-453-6800 ext. 390

 Fax: 203-453-0417
       Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 30 of 49



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 AMERICAN
 CRUISE LINES

Policy Form: luggage Reimbursement

Policy Area: Galley Chef Team
Title of Policy: luggage Reimbursement
Effective Date: 02/10/2015


1. Policy Format:
This policy has been put forth due to the high cost of luggage reimbursement. We travel many
employees to and from the vessels throughout the season; the reimbursement dollars are
astronomical to say the least. We all need to work diligently by travelling smart in order to
lower this cost.



2. Policy Statement:
Please be smart when you pack. Take only what you will need. There are laundry facilities on
each vessel. Rather than over pack one piece of luggage, bring two pieces of luggage that are
not as heavy. The affiliated cost is not about a second piece of luggage, it's the cost of the
overweight luggage that needs to be controlled and/or eliminated. Depending on the airline the
additional baggage fees are as follows:
Delta - $25.00 for first bag              $90.00 additional if luggage is over 90#
        $35.00 for second bag

American - $25.00 for first bag          $100.00 additional if luggage is over 50-100#
              $35.00 for second bag        $200.00 additional if luggage is over 100-200#
              $150.00 for third bag
There is a 2 bag limit, if you need a third piece of luggage or the bags are overweight, it will be
the responsibility of the individual that is traveling and you will not get reimbursed for the
additional bag or overweight bags. If charged for a carryon bag, it will become part of the policy
as stated above. You will be reimbursed to the maximum of $75.00 for baggage fees.

The above statement is subject to change. Airlines control the cost for each bag as well as the
cost of the overweight bags.



3. Procedures:
All reimbursement will need to be reviewed and/or approved by Corporate Executive Chef Tom
Leonard. If the luggage reimbursement is excessive due to improper packing, the individual will
be held responsible and will not be reimbursed.




TFL                                           Policy                                    02/10/2015
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 31 of 49
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 32 of 49




                        EXHIBIT- C
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 33 of 49




        Gmail                                             Rimon Hanna <rimondylanhanna@gmail.com>



Galley Changes
1 message

                                                                               Wed, May 17, 2017 at 4:16
Thomas Leonard <thomas.leonard@americancruiselines.com>
                                                                                                     AM    >·
To: American Spirit <spirit@americancruiselines.com>, "rimondylanhanna@gmail.com"
<rimondylanhanna@gmail.com>
Cc: Bryan Grund <bryan.grund@americancruiselines.com>, Wilfredo Morales
<wilfredo.morales@americancruiselines.com>, Chelsea Hargis <chelsea.hargis@americancruiselines.com>


 All:



 Corporate Executive Sous Chef Bryan Grund will depart the vessel on Saturday morning.


 Thank you,



 Thomas F. Leonard III C.E.C.
 Corporate Executive Chef

 American Cruise Lines, Inc.

 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile: 203-535-8006

 Office: 203-453-6800 ext. 390

 Fax: 203-453-0417




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         Gmail                                          Rimon Hanna <rimondylanhanna@gmail.com>



Galley Changes
1 message

Thomas leonard <thomas.leonard@americancruiselines.com>                      Tue, Jun 6, 2017 at 2:30PM
To: American Spirit <spirit@americancruiselines.com>, Rimon Hanna <rimondylanhanna@gmail.com>
Cc: Matthew Caldwell <mattcald@gmail.com>, Chelsea Hargis <chelsea. hargis@americancruiselines.com>,
Bryan Grund <bryan.grund@americancruiselines.com>


 All:



 There will be a few changes within the Galley this week:

 •      On Friday Second Chef Francis Trivento will board the vessel

                 o Please be sure he has a clean well stocked room upon his arrival.

 •      On Friday evening Chef Matthew Caldwell will depart the vessel

 •      On Saturday prior to departure Chef Alan Weymss will depart the vessel


 Thank you,


 Thomas F. Leonard III C.E.C.

 Corporate Executive Chef



 American Cruise Lines, Inc.

 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile: 203-535-8006

 Office: 203-453-6800 ext 390

 Fax: 203-453-0417
         Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 35 of 49




         Gmail                                                   Rimor1 Hanna <rimondylanhanna@gmail.com>



Galley Changes
5 messages

Thomas Leonard <thomas.leonard@americancruiselines.com>                          Wed, Jul12, 2017 at4:11 PM
To: Rimon Hanna <rimondylanhanna@gmail.com>


 Chef:




 I am sending your Chef Frank- You. and he did the market basket together.

 I am short handed so chef said he would return early to assist you.

 I am also send Terrell- he is an awesome and taleneted Chef.




 Hope you are well




 Thomas F. Leonard III C.E.C.
 Corporate Executive Chef



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 741 Boston Post Road

 Guilford, Connecticut 06437

 Mobile: 203-535-8006

 Office: 203-453-6800 ext. 390

 Fax: 203-453-0417
              Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 36 of 49




 From: Rimon Hanna [mailto:rimondylanhanna@gmail.com]
 Sent: Wednesday, July 12, 2017 3:47 PM          .
 To: Thomas Leonard <thomas.leonard@americancruiselines.com>
 Subject: Galley Changes

 {Quoted text hidden]




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Thomas Leonard <thomas.leonard@americancruiselines.com>                     Wed, Jul12, 2017 at 5:43PM
To: American Spirit <spirit@americancruiselines.com>, Rimon Hanna <rimondylanhanna@gmail.com>
Cc: Bryan Grund <bryan.grund@americancruiselines.com>, Chelsea Hargis
<chelsea.hargis@americancruiselines.com>


 All:


 There will be a few Galley Changes this coming week:

        • Second Chef Terrell Sheard will board on Friday
               o Please be sure he has a clean well stocked room upon his arrival

        • Executive Chef Francisco Ramirez will board on Friday to assist Executive Chef
          Rimon
               o Please be sure he has a clean well stocked room upon his arrival

        • Second Chefs Stephane St. Pierre (trying for Friday) and Francis Trivento
          (Saturday) will depart the vessel
        • I will book hotel rooms for both arriving Chefs on Friday night.



 Thank you,


 Thomas F. Leonard III C.E.C.

 Corporate Executive Chef



 American Cruise Lines, Inc.

  741 Boston Post Road

  Guilford, Connecticut 06437

  Mobile: 203-535-8006
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 37 of 49




                       EXHIBIT- D
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 38 of 49




         Gmail                                           Rimon Hanna <rimondylanhanna@gmail.com>



Matrix with New Recipes
1 message

                                                                                Mon, Jul17, 2017 at 5:50
Thomas Leonard <thomas.leonard@americancruiselines. com>
                                                                                                     AM
To: American Spirit <spirit@americancruiselines.com>, Rimon Hanna <rimondylanhanna@gmail.com>
Cc: Bryan Grund <bryan.grund@americancruiselines.com>, Frank Ramirez <framirezjr24@gmail.com>,
Courtney Kelly <courtney. kelly@americancruiselines.com>, Elizabeth· Brombacker
<elizabeth .brombacker@americancruiselines.com>, Paul Taiclet <Taiclet@americancruiselines.com>


  All:



  Attached you will find the new Matrix for the 7 22 cruise.

  You will also find a revised recipe guide that is also attached, please install onto each
  monitor in the galley.


  Please print off 4 copies for the Chefs team.
  Thank you,


  Thomas F. Leonard III C.E.C.

  Corporate Executive Chef



 American Cruise Lines, Inc.
 741 Boston Post Road

 Guilford, Connecticut 06437

  Mobile: 203-535-8006

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Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 40 of 49




                       EXHIBIT- E
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 41 of 49




MGmail                                                         Rimon Hanna <rimondylanhanna@gmail.com>



Rimon Hanna's termnation
1 message

Rimon Hanna <rimondylanhanna@gmail.com>                                             Mon, Jul31, 2017 at 11:53 PM
To: Thomas Leonard <thomas.leonard@americancruiselines.com>

 Dear Chef Tom
 FYI;
 -on Saturday, July 15 Two Stewarts appear to be drunk in the kitchen, Desiree fell in the floor, dropped a
 try with trash all over the place and Alex whom appeared with hostile behavior. Alex said she ate not
 smoke.
 I reported the incident to Nico who have said "she is not high, she is just drunk, don't bring your stress on
 us", this is the same day Craig walked out and my two chefs although they were paid for that day and their
 flight were not till 5:00 pm, they decided not to help at 8:00 right after breakfast because they were on
 vacation.
 I reported the incident to Shannon whom listen from one ear and let it lose to the other.
 Later on Alex came and pointed her middle finger right in my face invading my personal space.
 I called Shannon and express my disappointment and told her I demand my working space to be a space
 drunken free, signing and dancing free as well as respect from staff and management.
 This is happened at the same time I was in the kitchen alone with Mario Galley Stewart while Dallas the
 other Stewart decided to purchase his own flight to Florida walked out.

 I spoke to Craig whom walked out off the ship because he was under paid and not expected to work 16
 hours a day and live in a condition where some one vomited on him during his sleep from the bunk bed
 because he was drunk.
 I offered Craig to switch stations and work on the line or any station he wishes, he replied "You guys made
 so many promises and provided working condition from hell, Craig said he was also promised his own
 room and 8-10 working hours a day, as well as travel and having fun.

 While being short handed and having only myself and chef T in the kitchen, Alex requested 7 Creme
 Brulee, confirmed by Nico for guests. We made them and never were giving the guest but eaten by the
 dinning stewards.
 Nico requested 3 birthday cake. we took the time and Chef "T" made them. they stayed n the fridge for
 days and were not given to the customers, they were leaking, look old and I wouldn't serve them to a dog.
 on the following day in the management meeting I told Shannon that until we have a pastry chef, we can
 buy better quality cake from Fred Mayer tor their birthdays, I also told her I will report it to Chef Tom to
 shop around for ready made better presented cakes.
 I also express that they are wasting our time while we very short handed by asking us to make food which
 had never been serve.
 I received nothing but rudeness and arrogance by saying it's your job, you don't know how to do your job"
 by Nico and Shannon.
 I suggest to have an executive chef as a manager and exempt employee, they must have the ability to
 make decision, able to take disciplinary action, hire and fire and ability to instruct and provide training to the
 staff, that was not the case Chef. 16 working hours without breaks from 5:00am to 8:00pm and twice a
 week from 4:30 am and once a week until 10:00 pm for inventory and ordering.
 The Chef your provided to train me, pointed a knife raising his arm telling me "get this F*** lamb in the oven
 now. Chef Alan dripping sweat in the food, asking him to wash his hand was like a crime. Tim, on drugs.
 Frank, goes out drinking every night and called Stephan to go find him in one of the towns because he
 couldn't find his way back to the ship. this was how he fell off his bunk bed and showed up to work with
 bruised face. and that's is why we had no biscuits or fried chicken for breakfast or make them to order.
 Chef, I am well mannered and well educated and know how and when to talk to a people. I also know that I
 have been used and abused for the benefit of ACL.
         Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 42 of 49


A week earlier I was ready to give up and walked out next to Craig, however promises and encouragement
made me think otherwise and stayed for an extra week until Friday night and was advice to go on
vacation.
Upon the arrival of Shannon, she came to the galley while Stewarts were in break, pointing at the dish
area, and without any reason or notice "saying what is that shit, you don't know how to manage your staff,
you don't know how to do your job" I left the Galley and went to report the incident to the captain. even
Stephan said "she was far out of
order". Later on and after the service, she asked to go for a walk and apologized by saying" I am so sorry,
I was out of line''.

Thank you Chef
Rimon Hanna
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 43 of 49




                       EXHIBIT- F
                                                                                      Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 44 of 49




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HANNA/RIMON
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            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 46 of 49



Your ride with Geoffrey on May 27

Lyft Ride Receipt <no-reply@lyftmail.com>
Mon 7/10/2017 9:05AM


To:rimonhanna@live.com < rimonhanna@live.com >;




                                                     lyA

                                            Ride Cost Confirmed

                       We reviewed your ride cost and found that the cost was
                       correctly calculated. No change was made to your final
                           total. If you have questions, please contact us.




                             Thanks for riding with Geoffrey!
                                         May 27, 2017 at 7:23AM



                                                  Ride Details

                       Line fare (19.91 mi, 30m 24s)                             $41.34
                       Lyft Line Discount                                        -$7.44
                       Tip                                                        $2.00

                             MasterCard *9048                                   $35.90

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Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 47 of 49



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       • Dropoff          7:54 AM
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                       Make expensing business
                              rides easy
                   Enable business profile on Lyft to make
                      expensing rides quick and easy.



                                    Get Business Profile




                                              0 Tip driver

                                          Q    Find lost item

                                         C'V Request review


  To protect against unauthorized behavior, you may see an authorization hold up to $25.
               This is to verify your payment method and will not be charged.
            Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 48 of 49



Your ride with Padam on July 22

Lyft Ride Receipt <no-reply@lyftmail.com>
Sat 7/22/2017 2:38PM


To:rimonhanna@Jive.com < rimonhanna@live.com >;




                                                     iyA




                             Thanks for riding with Padam!
                                         July 22, 2017 at 2:44PM



                                                  Ride Details

                       Base fare                                     $0.45
                       53m 7s                                        $5.84
                       49.00 mi                                     $46.54
                       Service fee                                   $2.25
                       SLC Airport - Airport Fee                     $1.13

                       ,e ' MasterCard *9048                       $56.21
Case 3:18-cv-01545-CSH Document 1 Filed 09/12/18 Page 49 of 49


                                     Eagle




      e Pickup            2:44 PM
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      o   Stop            3:37PM



      e Dropoff           3:37 PM
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                    Make expensing business
                           rides easy
                   Enable business profile on Lyft to make
                      expensing rides quick and easy.



                                   Get Business Profile




                                              ® Tip driver

                                         a.    Find lost item


                                       CV Request review


                                 Pricing FAQ · Help Center
                                Receipt #1 0241428691 04302804
                           Map data© OpenStreetMap contributors
